               Case 1:16-cr-00107-DAD-BAM Document 15 Filed 07/22/16 Page 1 of 3
AO 199A (Rev. 12/11) Order Setting Conditions of Release                                                  Page I of        3       Pages



                                            UNITED STATES DISTRICT COURT
                                                                     for the
                                                                                                         Fl ED
                                                                                                             JUL ZZ 2016
                                                           Eastern District of California
                                                                                                       CLERK, U.S. DISTRICT COURT
                                                                                                    EASTERN DISTRICT OF CALIFORNIA
                                                                                                    BY    ~
                    United States of America                             )                                            PUTVcLERI\
                                       v.                                )
                  DIRAR DAHl FALLA AEZAH                                 )        Case No. 1:16-cr-00107-DAD-BAM
                                                                         )
                                                                         )
                              Defendant.
                                1 .•
                                            ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)   The defendant must not violate federal, state, or local law while on release.

(2)   The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S. C. § 14135a.

(3)   The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

(4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.

      The defendant must appear at:               United States Courthouse, 2500 Tulare Street, Fresno, CA
                                                                                            Place
       Courtroom 3 before Magistrate Judge Barbara A. McAuliffe

      on                                                          10/11/2016@ 1:00PM
                                                                        Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
                Case
AO 199B (Rev. 09/08-    1:16-cr-00107-DAD-BAM
                     EDCA [Fresno]) Additional Conditions of ReleaseDocument
                                                                     (General) 15           Filed 07/22/16 Page 2 of 3Page Q of 0 Pages
AEZAH, Dirar Dahifalla
Doc. No. 1:16-CR-107-3

                                                  ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

D     (6)         The defendant is placed in the custody of:

                        Name of person or organization

            who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance of the
            defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of
            release or disappears.

                     SIGNED:------------
                                       CUSTODIAN
0     (7)         The defendant shall:
      0           (a)     report on a regular basis to the following agency:
                          Pretrial Services and comply with their rules and regulations;
                  (b)     report in person to the Pretrial Services Agency on the first working day following your release from custody;
                  (c)     reside at a location approved by the PSO, and not move or be absent from this residence for more than 24 hrs.
                          without prior approval ofPSO; travel restricted to the Eastern District of California, unless otherwise approved in
                          advance by PSO.
                  (d)     report any contact with law enforcement to your PSO within 24 hours;
                  (e)     maintain or actively seek employment or education. and provide proof thereof to the PSO, upon request;
                  (f)     not be employed at AJ Dollar Plus (also known as AJ Dollar Discount and possible other variations) and shall not
                          engage in any activity related to any internet websites involved in distribution of controlled substances, including
                          canamos.com and codeblackincense.com;
                  (g)     refrain from possessing a frreannlammunition, destructive device, or other dangerous weapon; additionally, you
                          shall provide written proof of divestment of all frrearms/ammunition, currently under your control;
                  (h)     surrender any passport to the Clerk, United States District Court, and obtain no passport during the pendency of this
                          case;
      0           (i)     not obtain a passport or other traveling documents during the pendency of this case;
      0           G)      execute a $100,000 unsecured appearance and compliance bond, signed by the defendant and David Aezah.
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AO 199C (Rev. 09/08- EDCA [Fresno]) Advice ofPenalties                                                       Page _3___ of   3   Pages

                                          ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any. other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more- you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years -you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony- you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                  Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




                                                                                    Defendant's Signature




                                               Directions to the United States Marshal

( [l]) The defendant is ORDERED released after processing.



Date:   1/n{lv
                                                         Jennifer L. Thurston, U.S. Magistrate Judge
                                                                                    Printed name and title




                   DISTRIBUTION:      COURT      DEFENDANT    PRETRIAL SERVICE     U.S. ATTORNEY         U.S. MARSHAL
